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     COUNTY OF SAN MATEO, DEPUTY CHRIS LAUGHLIN
 9   and DEPUTY ERIC MICHEL

10                                  UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12

13   RICHARD EARL MAY,                              Case No. 3:16-cv-00252 LB

14                   Plaintiff,                     DEFENDANTS’ MOTION IN LIMINE NO. 1 TO
                                                    EXCLUDE EVIDENCE OF DEFENDANTS’
15          vs.                                     PERSONNEL MATTERS AND DISCIPLINARY
                                                    HISTORY UNRELATED TO THE INCIDENT
16   COUNTY OF SAN MATEO, DEPUTY
     CHRIS LAUGHLIN, ERIC MICHEL, and                        Hearing
17   DOES 1 through 10, individually, Jointly and
     Severally,                                     Date:    May 18, 2017
18                                                  Time:    1:00 p.m.
                                                    Dept:    C, 15th Floor
19                   Defendants.
                                                    THE HONORABLE LAUREL BEELER
20
                                                    TRIAL DATE: June 5, 2017
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                DEFENDANTS’ MOTION IN LIMINE NO. 1 TO EXCLUDE EVIDENCE OF DEFENDANTS’
               PERSONNEL MATTERS AND DISCIPLINARY HISTORY UNRELATED TO THE INCIDENT
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 1                                            NOTICE OF MOTION
 2           PLEASE TAKE NOTICE on May 18, 2017, at 1:00 p.m., or as soon thereafter as the matter may

 3   be heard, before the Honorable Laurel Beeler, in Courtroom C of the above-captioned court, located at

 4   450 Golden Gate Avenue, 15th Floor, San Francisco, CA, Defendants San Mateo County (“County”),

 5   Sheriff’s Deputy Chris Laughlin, and Sheriff’s Deputy Eric Michel (collectively, “Defendants”) will and

 6   hereby do move the court for an order prohibiting Plaintiff from presenting certain evidence at trial, in

 7   particular:

 8           Evidence, testimony, and arguments related to Defendants’ personnel, employment, and
 9   complaint/disciplinary history and investigations and reports of other incidents involving use of force
10   unrelated to the incident on January 1, 2015.
11           This motion is based upon this Notice of Motion and Motion, the accompanying Memorandum of

12   Points and Authorities, and any other matters which the Court in its discretion may allow.

13                                                   MOTION
14   I.      INTRODUCTION
15           During discovery Plaintiff requested, and Defendants produced, extensive records related to

16   Defendants’ personnel, employment, and complaint/disciplinary history and investigations and reports of

17   other incidents involving use of force unrelated to the incident on January 1, 2015. (See Supplemental

18   Response by Defendants San Mateo County, Greg Monks, Deputy John Sanchez, Deputy Chris Laughlin,

19   Deputy Eric Michel to Plaintiff’s Request for Production of Documents and Things (Set One).) While

20   records unrelated to the incident on January 1, 2015, might have been relevant to Plaintiff’s Monell

21   claim, that claim has been dismissed with prejudice. Thus, Defendants seek to exclude from trial

22   evidence, testimony, and arguments related to Defendants’ personnel, employment, and

23   complaint/disciplinary history and investigations and reports of other incidents involving use of force

24   unrelated to the incident on January 1, 2015.

25   II.     ARGUMENT
26           Without a Monell claim, such evidence is irrelevant. Even if it were relevant, the probative value

27   of such evidence is substantially outweighed by the prejudice it would cause at trial, and therefore its

28   admission is precluded under Federal Rule of Evidence 403. See, e.g., Tan v. City & Cnty. of San
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 1   Francisco, No. C 08-01564 MEJ, 2010 WL 726985 *2 (N.D. Cal. Feb. 26, 2010) (“Permitting the jury to

 2   consider the complaints and accounts of misconduct contained in the personnel files of the defendant

 3   officers presents a grave danger of unfair prejudice” (internal citation omitted, parenthesis changed).)

 4   Finally, such evidence constitutes improper character evidence under Federal Rule of Evidence 404. In

 5   fact, Rule 404 “has been amended to clarify that in a civil case evidence of a person’s character is never

 6   admissible to provide that the person acted in conformity with the character trial.” Fed. R. Evid. 404

 7   advisory committee note (2006). This has historically been the rule in civil rights cases, where

 8   “[c]haracter evidence is normally not admissible.” Gates v. Rivera, 993 F.2d 697, 700 (9th Cir. 1993).

 9   As Gates explained, “[t]he question to be resolved [is] whether, objectively, [the officer’s] use of force

10   had been excessive,” and thus the officer’s “past conduct d[oes] not bear on that issue.” Id.

11   III.    CONCLUSION
12           Based on the foregoing, the Court should grant Defendants’ Motion in Limine No. 1 and exclude

13   from trial any evidence, testimony, and/or argument related to Defendants’ personnel, employment, and

14   complaint/disciplinary history and investigations and reports of other incidents involving use of force

15   unrelated to the incident on January 1, 2015.

16

17   Dated: April 20, 2017                                    Respectfully submitted,

18                                                            JOHN C. BEIERS, COUNTY COUNSEL
19

20                                                            By:            /s/
                                                                     Justin W. Mates, Deputy
21                                                                   Brian E. Kulich, Deputy
                                                                     Maggie V. Tides, Deputy
22
                                                              Attorneys for Defendants
23                                                            COUNTY OF SAN MATEO, DEPUTY CHRIS
                                                              LAUGHLIN and DEPUTY ERIC MICHEL
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